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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF GEORGIA
                                 SAVANNAH DIVISION


LAUREN DODD, RICHARD SMITH, and
AMANDA HAMMOND, individually and on
behalf of all others similarly situated,

                 Plaintiffs,                                 CIVIL ACTION NO.: 4:23-cv-327

         v.

INTERNATIONAL LONGSHOREMEN’S
ASSOCIATION LOCAL 1475 CLERKS
AND CHECKERS UNION, INC.,

                 Defendant.




                                              ORDER

         Plaintiffs   brought   this   putative   class   action   against   Defendant   International

Longshoreman’s Association Local 1475 Clerks and Checkers Union, Inc.’s (“Local 1475”) and

International Longshoremen’s Association (“ILA”) 1 alleging a breach of the duty of fair

representation to union members. (Doc. 1.) Presently before the Court is Local 1475’s Motion

to Dismiss, (doc. 11), and Request for Judicial Notice in Support of its Motion to Dismiss, (doc.

13). Local 1475 moves to dismiss the Complaint, arguing that Plaintiffs’ claims are barred by

the applicable statute of limitations and that Plaintiffs have failed to allege facts showing Local

1475 acted arbitrarily, capriciously, or in bad faith. (Doc. 12, pp. 8–13.) For the reasons

discussed below, the Court GRANTS Local 1475’s Request for Judicial Notice as unopposed,

(doc. 13), and GRANTS Local 1475’s Motion to Dismiss, (doc. 11).


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    Defendant ILA was dismissed from this action on March 21, 2024. (Doc. 33.)
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                                        BACKGROUND

I.     Parties and Governing Agreements

       The facts below are set forth in the Complaint. (Doc. 1.) Local 1475 is a local labor

organization that, along with ILA, serves as the bargaining representative for clerks and checkers

in the Port of Savannah (“Port”). (Id. at pp. 3–4.) Plaintiffs are bargaining unit members of

Local 1475. (Id. at p. 3.) ILA and Local 1475 are parties to a collective bargaining agreement

(“CBA”) with the Georgia Stevedore Association (“GSA”) which governs the rates of pay, rules,

and working conditions for clerks and checkers at the Port. (Id. at p. 7.)

       Local 1475 operates a hiring hall where it assigns work to clerks and checkers in

accordance with the order set forth in the CBA, referred to as the Savannah Clerks and Checkers

Seniority Plan (“Seniority Plan”). (Id.) Under the Seniority Plan, clerks and checkers are

grouped together in divisions known as “Classes.” (Id. at p. 8.) Each Class consists of clerks

and checkers who achieved at least 700 hours of work in a specific “contract year,” and who

maintained 700 hours of work in each contract year thereafter. (Id.) Under the Seniority Plan,

contract years begin on October 1, and end on September 30, and are designated by the calendar

years they straddle (e.g., 2023–24). (Id.)

       The requirement to work at least 700 hours to establish seniority is in the ILA

Constitution, which states that “[e]very local union shall have a seniority system requiring a

minimum of 700 work hours or credited hours to establish a year of service” and that “[s]uch

seniority system based on years of service shall be used to determine priority of employment for

hiring purposes.” (Id.) The Classes created under the Seniority Plan form a seniority-based

system for assigning work to clerks and checkers. (Id. at p. 9.) Under the Seniority Plan, Local




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1475 and ILA offer available work to all members of a Class before offering work to the next

Class. (Id.)

II.     Creation of Emergency List and Changes to Seniority Plan

        During contract year 2020–21, there was an unusual expansion of work at the Port,

creating a temporary demand for additional clerks and checkers. (Id.) ILA, Local 1475, and

GSA responded to the increased demand by creating an “Emergency List” of new clerks and

checkers. (Id.) Local 1475 placed approximately 200 individuals on the Emergency List. (Id. at

p. 14.) However, before announcing the creation of the Emergency List to members of the

bargaining unit, Local 1475 recruited its leaders’ family and friends to become clerks and

checkers under the Emergency List. (Id. at p. 9.) In the Complaint, Plaintiffs identify twenty-

two individuals who were either related to or close family friends of Local 1475 leaders who

were added to the Emergency List. (See id. at pp. 10–13.)

        At a Local 1475 meeting in February 2021, members asked Local 1475 leaders about the

Emergency List. (Id. at p. 13.) In response, Local 1475 made the Emergency List available to

members, but only if they signed up in person at a location within the Port during a single four-

hour period occurring two days after the membership meeting. (Id. at p. 14.) Only those persons

with valid Port credentials could access the location where the Emergency List signup occurred.

(Id.)

        ILA and Local 1475 required clerks and checkers on the Emergency List to execute a

waiver of seniority rights as a condition of employment. (Id.) Consequently, Emergency List

members who worked as clerks and checkers in the 2020–21 contract year had no seniority

preference over the members who first worked as clerks and checkers during the 2021–22

contract year. (Id.)



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       On October 11, 2021, ILA, Local 1475, and GSA executed a Memorandum of

Understanding (“2021 MOU”). (Id. at p. 15.) Under the 2021 MOU, Class “HH” consisted of

individuals who worked at least 700 combined hours in the 2021–22 contract year. (Id.) Until

June 19, 2023, Class HH consisted only of clerks and checkers who first worked in the 2021–22

contract year and clerks and checkers who first worked under the Emergency List. (Id.)

       Beginning in February 2023, the amount of available clerk and checker work at the Port

declined. (Id.) In the Spring of 2023, at the urging of ILA and Local 1475, GSA entered into a

Memorandum of Understanding (“2023 MOU”) that subdivided Class HH into two Subclasses

designated as HH-1 and HH-2. (Id.) Local 1475 created these subdivisions because of a case

filed against the union. (Doc. 13-4, p. 2.) 2 The 2023 MOU defined Subclass HH-1 as

       All individuals who worked at least 700 hours through the Local 1475 hiring
       system during both the 2020–21 and 2021–22 Contract Years, and all individuals
       who were on an [E]mergency [L]ist during the 2020–21 Contract Year and
       worked at least 700 hours through the Local 1475 hiring system during the 2021–
       22 Contract Year.

(Doc. 1, pp. 15–16.) 3 Class HH-2 was defined as “[a]ll other individuals who worked at least

700 hours through the Local 1475 hiring system during the 2021–22 Contract Year.” (Id. at p.

16.) The 2023 MOU further provided, “For purposes of hiring preference within in the HH

classification, all members of the Sub-classification HH-1 will be referred work they are

qualified to perform before any jobs are offered to members of Sub-classification HH-2.” (Id.)

       Local 1475 did not disclose to members that the Emergency List, and consequently part

of the HH-1 Subclass, was populated with Local 1475 leaders’ family and friends. (Id.) On May

2
  For the reasons discussed in Discussion § I, infra, the Court has taken judicial notice of certain
undisputed facts even though they were not included in the Complaint.
3
   Despite these requirements, Plaintiffs allege that approximately thirty persons who appear on the
Emergency List and who are now assigned to Subclass HH-1 performed less than 700 work hours or
credited hours during the 2020–21 contract year. (Doc. 1, p. 17.)


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11, 2023, Local 1475 members voted to ratify the 2023 MOU in a single day ratification vote.

(Id. at p. 17.) On June 19, 2023, ILA and Local 1475 carried out the division of Class HH into

Subclasses HH-1 and HH-2. (Id.)

        Because of the Class division, the amount of work available to members of Subclass HH-

1 increased substantially, and the amount of work available to members of Subclass HH-2

declined substantially. (Id. at pp. 17–18.)

III.    Procedural History

        Plaintiff Amanda Hammond filed an unfair labor practice charge with the National Labor

Relations Board (“NLRB”) on May 17, 2023. (See docs. 13-1, 13-2.) The Charge alleged that

Local 1475 “violated [29 U.S.C. § 158](b)(1)(A) and (2) by operating the hiring hall in manner

that [was] arbitrary, discriminatory, or in bad faith, by splitting the HH seniority group into two

sub-groups.” (Doc. 13-2, p. 2.) The NLRB dismissed the charge, finding the division “was not

so far outside the wide range of reasonableness afforded to labor organization[s] when

administering their duties as to be deemed arbitrary or irrational.” (Id.) The NLRB dismissal

also stated that insofar the challenge was based on the previous creation of the Emergency List,

that act occurred more than six months before the Charge was filed and could not be considered.

(Id.)

        Plaintiffs sued Local 1475 and IRL ILA in this Court on November 9, 2023. (Doc. 1.) In

the Complaint, Plaintiffs bring one claim under the National Labor Relations Act (“NLRA”), 29

U.S.C. § 158(b)(1)(A) and (2). (Id.) Specifically, Plaintiffs allege that Local 1475 violated the

duty of fair representation by dividing Class HH into subclasses and by not disclosing Local

1475 leaders’ personal ties to individuals on the Emergency List before the ratification vote.

(See generally id.)



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       On December 29, 2023, Plaintiff Hammond filed an appeal of the NLRB decision to the

NLRB’s Office of General Counsel. (See doc. 13-3.) The appeal was denied on January 23,

2024, based on the determination that “[p]revious litigation and facts presented . . . belie[d] [the]

notion” that “the composition of the [Emergency List]”—that being “friends and family of local

union leadership”—was “concealed from members who voted to approve the HH subgroups

addressed in the [2023] MOU.” (Doc. 13-4, p. 2.)

       Local 1475 filed the at-issue Motion to Dismiss on January 29, 2024, arguing that the

Court should dismiss this action because (1) it is barred by the six-month statute of limitations,

and (2) it is inadequately pled. (Doc. 11.) Local 1475 also requests that the Court take judicial

notice of Hammond’s previously-filed grievance and the NLRB’s disposition of that Charge.

(Doc. 13.) Plaintiffs filed a Response to the Motion to Dismiss, (doc. 18), but did not respond to

Local 1475’s Request for Judicial Notice. Local 1475 filed a Reply. (Doc. 31.)

                                          DISCUSSION

I.     Judicial Notice (Doc. 13)

       In connection with its Motion to Dismiss, Local 1475 moves the Court to take judicial

notice of certain facts on which it relies in its briefing. (See generally doc. 13.) Specifically,

Local 1475 asks the Court to take judicial notice of (1) the NLRB Charge filed against Local

1475 by Plaintiff Hammond on May 17, 2023; (2) the NLRB’s letter, dated December 18, 2023,

dismissing Hammond’s claim; (3) the NLRB’s letter, dated December 29, 2023, acknowledging

receipt of Hammond’s appeal; and (4) the NLRB Office of General Counsel’s letter, dated

January 23, 2024, denying Hammond’s appeal. (Id. at pp. 1–2.) Local 1475 also asks that the




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Court take judicial notice of the contents of the Seniority Plan, the 2021 MOU, and the 2023

MOU. 4 (Id. at p. 2.)

         A court on its own and at any time may judicially notice a fact that cannot be reasonably

disputed because it either is generally known or can be readily and accurately determined from

sources whose accuracy cannot reasonably be questioned. Fed. R. Evid. 201(b)–(d). As Local

1475 highlights in its Reply, Plaintiffs failed to object to the Judicial Notice Request. 5 (Doc. 31,

p. 1.) Accordingly, the Request appears to be unopposed. See L.R. 7.5 (“Failure to respond . . .

shall indicate that there is no opposition to a motion.”). Given that Local 1475 has provided a

sound legal basis for its proposed judicially noticed facts, and because Plaintiffs have failed to

show how these facts could be reasonably disputed, the Court GRANTS Local 1475’s Request.

Accordingly, the Court will consider the NLRB charge and its disposition for the purposes of

Local 1475’s Motion to Dismiss. See Steward v. Int’l Longshoremen’s Ass’n, No. 3:16-CV-

1194-J-39PDB, 2019 WL 5188524, at *10 (M.D. Fla. Aug. 2, 2019), report and

recommendation adopted, 2019 WL 13065834 (M.D. Fla. Oct. 30, 2019), aff’d sub nom. 829 F.

App’x 913 (11th Cir. 2020) (NLRB charges fall within ambit of judicially noticeable facts); see

also Gross v. White, 340 F. App’x 527, 533 (11th Cir. 2009) (“[D]ocuments submitted by a

defendant with a motion to dismiss . . . may be considered by the court if the plaintiff refers to

those documents in the complaint and those documents are central to the plaintiff’s claim.”);

Kavowras v. New York Times Co., 328 F.3d 50, 57 (2d Cir. 2003) (proper for district court to

consider underlying NLRB charge). The Court likewise takes judicial notice of the contents of



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    Local 1475 refers to the 2023 MOU as the 2023 Addendum. (See generally doc. 13; doc. 13-7.)
5
   Plaintiffs state only in passing that Local 1475 did not “argue the relevance or materiality of the
documents it asks this Court to take judicial notice of,” and they fail to argue that any of the proposed
facts could be reasonably disputed. (Doc. 18, p. 2.)

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the Seniority Plan, the 2021 MOU, and the 2023 MOU that are referenced in the Complaint and

which Local 1475 attached to its Request.

II.    Motion to Dismiss (Doc. 11)

       A.      Statute of Limitations

       Local 1475 first moves to dismiss the Complaint on statute of limitation grounds, arguing

that the duty of fair representation claim is based on conduct that occurred outside the statutory

period. (Doc. 12, p. 8.) Specifically, it argues that the division of the HH class can only breach

of the duty of fair representation if the Court finds that Local 1475 already breached the duty

when it created the Emergency List, which occurred outside the limitations period. (Id.) The

Court disagrees.

       A claim for breach of duty of fair representation has a statute of limitations of six months.

29 U.S.C. § 160(b); DelCostello v. Int’l Bhd. of Teamsters, 462 U.S. 151, 154–55 (1983). When

an unfair labor practice invokes earlier conduct outside the statutory period, the Supreme Court

of the United States has outlined “two different kinds of situations.” Loc. Lodge No. 1424 v.

NLRB, 362 U.S. 411, 416 (1960).

       The first is one where occurrences within the six-month limitations period in and
       of themselves may constitute, as a substantive matter, unfair labor practices.
       There, earlier events may be utilized to shed light on the true character of matters
       occurring within the limitations period; and for that purpose [the statute of
       limitations] ordinarily does not bar such evidentiary use of anterior events. The
       second situation is that where conduct occurring within the limitations period can
       be charged to be an unfair labor practice only through reliance on an earlier
       unfair labor practice. There the use of the earlier unfair labor practice is not
       merely “evidentiary,” since it does not simply lay bare a putative current unfair
       labor practice. Rather, it serves to cloak with illegality that which was otherwise
       lawful. And where a complaint based upon that earlier event is time-barred, to
       permit the event itself to be so used in effect results in reviving a legally defunct
       unfair labor practice.

Id. at 416–17 (emphasis added).



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        Plaintiffs’ claim is based on Local 1475’s division of the HH Class and its failure to

disclose, before the ratification vote, that the proposed HH-1 Subclass consisted of leaders’

friends and family. (See generally doc. 1.) Plaintiffs allege that the vote to ratify the 2023

MOU, which contained the HH Class division, occurred on May 11, 2023, and went into effect

on June 19, 2023, both of which fall within the six-month period beginning on May 9, 2023. (Id.

at p. 17.)

        While the Emergency List may be relevant for showing who those individuals are and

how they came to comprise the HH-1 Subclass, the action challenged in this lawsuit is the

(existing and ongoing) division of the HH Class, not the original creation of the Emergency list. 6

Accordingly, because Plaintiffs’ claims are based on actions that fall within the statutory period,

Local 1475’s Motion is not due to be granted on statute of limitations grounds.

        B.      Failure to Plead a Fair Representation Claim

        Turning then to the merits of Plaintiffs’ claim, the Complaint alleges that Local 1475

violated the duty of fair representation when it (1) divided the HH Class in two subclasses, and

(2) misrepresented material facts about the 2023 MOU before the ratification vote. (Doc. 1, pp.

18–19.) Under the NLRA, “a labor organization has a statutory duty of fair representation . . .

‘to serve the interests of all members without hostility or discrimination toward any, to exercise

its discretion with complete good faith and honesty, and to avoid arbitrary conduct.’” Breininger

v. Sheet Metal Workers Int’l Ass’n Loc. Union No. 6, 493 U.S. 67, 73 (1989) (quoting Vaca v.


6
   Local 1475, in its Reply, makes various merits-based arguments that the Court does not consider
relevant to the statute of limitations argument. For example, Local 1475 argues that Plaintiff’s claim falls
outside the statute of limitations because the NLRB found the Emergency List to be lawful and the only
way to find a breach of the duty of fair representation would be if Local 1475 failed to disclose something
unlawful. (See, e.g., doc. 31, pp. 8–9.) Local 1475 gives no citation for this position, but even so, such
would only be grounds for dismissal of Plaintiffs’ claims on the merits—i.e., a finding that the duty was
not breached—rather than on statute of limitations grounds.


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Sipes, 386 U.S. 171, 177 (1967)). “[A] union breaches the duty of fair representation when its

conduct toward a member of the bargaining unit is arbitrary, discriminatory, or in bad faith.”

Marquez v. Screen Actors Guild, Inc., 525 U.S. 33, 44 (1998). The burden to establish a breach

of the duty of fair representation is “a substantial one.” Harris v. Schwerman Trucking Co., 668

F.2d 1204, 1206 (11th Cir. 1982). And “mere negligence is never sufficient to sustain a claim

for breach of the [duty of fair representation].” Roadway Exp., Inc. v. N.L.R.B., 427 F. App’x

838, 841 (11th Cir. 2011). Accordingly, the Court must consider whether Plaintiffs have alleged

facts sufficient to support a finding that either of the challenged actions by Local 1475 can be

characterized as arbitrary, discriminatory, or made in bad faith.

               (1)     Splitting the HH Class

       Turning first to Local 1475’s decision to split the HH Class, the Complaint lacks

allegations to support finding a breach of the duty of fair representation. First, there are no

allegations that this division was arbitrary. “A union’s conduct can be classified as arbitrary only

when it is irrational, when it is without rational basis or explanation.” Marquez v. Screen Actors

Guild, Inc., 525 U.S. 33, 46 (1998). Put another way, “a union’s actions are arbitrary only if, in

light of the factual and legal landscape at the time of the union’s actions, the union’s behavior is

so far outside a wide range of reasonableness as to be irrational.” Air Line Pilots Ass’n, Int’l v.

O’Neill, 499 U.S. 65, 67 (1991) (internal quotations and citation omitted) (emphasis added).

“This ‘wide range of reasonableness’ gives the union room to make discretionary decisions and

choices, even if those judgments are ultimately wrong.” Marquez, 525 U.S. 45–46. “[N]either

negligence of the union nor a mistake in judgment is sufficient to support a claim that the union

acted [arbitrarily],” and “nothing less than a determination that the union acted with reckless

disregard for the employee’s rights or was grossly deficient in its conduct will suffice.” Taaffe v.

Bellsouth Telcomm., Inc., 204 F. App’x 823, 824 (11th Cir. 2006) (per curiam).

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          Here, Local 1475 made the decision to split the class to resolve a previously filed NLRB

charge against it. (See doc. 13-4, p. 2.) Once Local 1475 proposed the class divide and

membership voted to split the HH class, the charging party in that case withdrew the charge.

(Id.) The Complaint alleges no facts indicating that this was not the motive for splitting the class

or that the true motive was solely to show favoritism to certain friends and family contained on

the Emergency List (and Plaintiffs filed no objections to the Local 1475 Request for Judicial

Notice). Put simply, the Complaint lacks allegations indicating that the decision to split the class

fell outside the “wide range of reasonableness” afforded to unions. Marquez, 525 U.S. at 45.

          There is likewise no allegation to support a claim that Local 1475 acted discriminatorily

by splitting the class. A union “may not discriminate against any member of the union or treat

some members with hostility while favoring others.” Oltmanns v. Int’l Longshoremen’s Ass’n

Loc. 1475 Clerks & Checkers Union, Inc., No. 4:18-CV-188, 2019 WL 2932754, at *6 (S.D. Ga.

July 8, 2019), aff’d sub nom. Oltmanns v. Int’l Longshoremen’s Ass’n, 837 F. App’x 689 (11th

Cir. 2020) (quoting Smith v. Local 7898, United Steelworkers of Am., 834 F.2d 93, 96 (4th Cir.

1987)).     To prove that a union’s conduct was discriminatory, a plaintiff must establish

“discrimination that is intentional, severe, and unrelated to legitimate union objectives.” Beck v.

UFCW, Local 99, 506 F.3d 874, 880 (9th Cir. 2007) (quoting Amalgamated Ass’n of St., Elec.

Ry. & Motor Coach Emps. v. Lockridge, 403 U.S. 274, 301 (1971)).

          According to the Complaint, the HH Class was split into subclasses based on objective

criteria: that a member (1) had worked at least seven hundred hours in 2021–22; and (2) had

worked at least seven hundred hours in 2020–21, or had worked under the Emergency List in




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2020–21. 7 (Doc. 1, pp. 15–16.) Plaintiffs do not allege any facts indicating that these class

distinctions were intended to discriminate against a particular class or that they were somehow

not based on objective criteria. Stated differently, Plaintiff has failed to allege facts tending to

show “that the [u]nion treated her differently than other similarly situated [u]nion members.

Barrington v. Lockheed Martin, 483 F. Supp. 2d 1154, 1166 (M.D. Fla. 2007), aff’d, 257 F.

App’x 153 (11th Cir. 2007).

        While Plaintiffs seem to believe that union leaders discriminatorily preferred union

leaders’ friends and family on the Emergency List by creating these subdivisions, it is undisputed

that the HH-1 class was made in response to charges brought against the union after those on the

Emergency List were made to waive seniority rights for the 2020–21 calendar year. Nothing the

Complaint or judicially noticed facts leads to an inference that discrimination was the true

motive for the class divide. 8 In other words, Plaintiffs have only speculated that, because union

leadership’s friends and family were on the Emergency List, the split must have been

discriminatorily motivated to favor those individuals. Beyond these speculative allegations,

Plaintiffs have failed to allege that union leadership acted with hostility when it split the class or

that it otherwise acted with some discriminatory purpose that was “intentional, severe, and

unrelated to legitimate union objectives.” Lockridge, 403 U.S. at 301; Barrington, 483 F. Supp.

2d at 1166 (subjective belief that the union was seeking to protect certain individuals, with no

further corroboration, was insufficient to show discrimination).


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  Moreover, while Plaintiffs may gripe with the composition of the Emergency List, that would be a
challenge to the creation of the list to begin with, which—as discussed Discussion § I, supra—falls
outside the limitations period and is not up for consideration in this action.
8
  The Complaint does allege that thirty individuals who were on the Emergency List and now enjoy HH-
1 status performed less than 700 hours of work during the 2020–21 calendar year, but it fails to allege that
these individuals were friends or family members of Local 1475 leadership. (See doc. 1, p. 17.)


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        Finally, the Complaint fails to allege that Local 1475 acted in bad faith. Bad faith means

that “the union acted (or failed to act) due to an improper motive.” Yeftich v. Navistar, Inc., 722

F.3d 911, 916 (7th Cir. 2013). Plaintiffs argue that Local 1475 acted in bad faith by giving

seniority rights to those on the Emergency List because it has alleged that twenty-two of the

approximately two hundred individuals on the Emergency List were friends or family of union

leadership. Even assuming that this is an improper motive, 9 as already stated, Plaintiffs have

failed to allege that those individuals’ presence on the Emergency List were what motivated the

division. Oltmanns, 2019 WL 2932754, at *6 (“merely stat[ing] that [an] action was done in

‘bad faith,’” without “put[ting] forth subsidiary facts speaking to any [union] representative’s

state of mind,” was insufficient to show bad faith on motion to dismiss). Nor, importantly, are

there any facts pled that show any of the alleged family or friends ultimately obtained HH-1

seniority status. Indeed, as already noted, presence on the Emergency List alone did not lead to

seniority status because the class divide required that individuals on the Emergency List work at

least 700 hours in the 2021–22 calendar year.

        Taken together with the judicially noticed facts, the allegations in the Complaint provide

a reasonable factfinder with no basis, beyond mere speculation, to find that the class split was

arbitrary, discriminatory, or made in bad faith. While Plaintiffs may feel wronged because some

of Local 1475’s leadership’s friends and family may have ultimately received seniority status,

there are insufficient facts to support an inference that the seniority rights were improperly

bestowed. There is therefore no basis for finding that the class division breached the duty of fair

representation.



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  Plaintiffs do not direct the Court to any authority addressing nepotism in hiring or seniority rights. (See
generally doc. 18.)


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                (2)     Failure to Disclose Membership of the Emergency List Before 2023
                        MOU Ratification Vote

        Plaintiffs additionally argue that Local 1475 breached the duty by “keeping the rest of the

members in the dark,” that is, by failing to disclose the membership of the Emergency List

before the ratification vote of the 2023 MOU. (Doc. 18, p. 20.) “[I]n an appropriate case a fair

representation claim may be stated against a union for misrepresenting the terms of an agreement

to its membership.” Parker v. Connors Steel Co., 855 F.2d 1510, 1521 (11th Cir. 1988).

“Intentionally misleading statements by union officials designed to persuade members to join in

collective action, such as . . . ratification of a newly negotiated agreement, can supply the bad

faith necessary to a [duty of fair representation] violation.” Bautista v. Pan Am. World Airlines,

Inc., 828 F.2d 546, 550 (9th Cir. 1987); see, e.g., Anderson v. United Paperworkers Int’l Union,

AFL-CIO, 641 F.2d 574 (8th Cir. 1981) (duty of fair representation extended to statements made

by union official, in seeking ratification vote, that a special security fund existed which

guaranteed that severance pay would be available despite his knowing that no such fund existed).

Plaintiffs do not argue that Local 1475 made a misrepresentation in seeking ratification of the

2023 MOU, but rather that it omitted information concerning the membership of the Emergency

List, and consequently, omitted information of the potential HH-1 Subclass. This is not enough

to support a finding that the duty of fair representation was breached.

        First, Plaintiffs have provided no allegation or supporting authority that the specific

membership of the Emergency List was a fact subject to disclosure before a ratification vote of

the HH subclasses. 10 Local 1475 argues that no disclosure was necessary because “there is


10
   Indeed, Plaintiffs have failed to provide the Court with any authority stating that a failure to disclose
information in a ratification vote is even actionable. (See generally doc. 18); see, e.g., Ackley v. W.
Conf. of Teamsters, 958 F.2d 1463, 1472 n.6 (9th Cir. 1992) (noting unsettled authority between
nondisclosure versus deliberate misrepresentations within the duty of fair representation).


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nothing inherently unlawful about using referrals from the bargaining unit to meet an emergency

need for workers.” (Doc. 31, p. 9.) The NLRB previously concluded (twice) that a challenge to

the Emergency List’s existence was meritless. (Doc. 13-4, p. 2.) Local 1475 plausibly may have

considered this information immaterial to disclosure and thus neglected to mention it before the

ratification vote. There is no indication in the Complaint that Local 1475 officials made any

affirmative misrepresentations or that they intentionally tried to conceal or misrepresent the

membership of the Emergency List. See Oltmanns, 2019 WL 2932754, at *6 (plaintiff “merely

state[d] that this action was done in ‘bad faith,’” but failed to put forth “subsidiary facts speaking

to any [union] representative’s state of mind”).

        Absent any allegation that Local 1475 was obligated to disclose this information or that it

intentionally concealed it before ratification, Plaintiffs have, at best, alleged a negligent failure to

disclose, which cannot by itself carry their claim. Roadway Exp., Inc. v. NLRB, 427 F. App’x

838, 841 (11th Cir. 2011) (per curiam) (“[M]ere negligence is never sufficient to sustain a claim

for breach of the [duty of fair representation, . . .] [n]or are simple mistakes of judgment during

the representation.”).

        Moreover, even if the Court were to find this information material to the vote and that

Local 1475 intentionally concealed it, Plaintiffs have failed to allege facts showing that this

would have affected the outcome of the ratification vote. Ackley, 958 F.2d at 1472 (even

assuming that nondisclosure could support a fair representation claim, plaintiffs failed to show

how such nondisclosure would have changed the vote). Indeed, Plaintiffs have not alleged that

they were unaware of the Emergency List’s membership let alone that disclosure would have

impacted the vote of a membership majority. 11 Any claim that such disclosure would have


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   The NLRB, in ruling on Plaintiff Hammond’s appeal, additionally noted that “the question of whether
the [E]mergency . . . [L]ist was secret was previously raised and found without merit.” (Doc. 13-4, p. 2.)

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changed the outcome of the ratification vote is wholly speculative. Accordingly, Plaintiffs’

assertions that Local 1475 failed to disclose its relationships to individuals on the Emergency

List before the ratification vote splitting the HH Class is not enough to support a fair

representation claim. Plaintiffs’ claims are therefore due to be DISMISSED.

                                          CONCLUSION

       “At its most rudimentary level, the union’s duty of fair representation is a duty ‘to make

an honest effort to serve the interests of all, . . . without hostility to any.’” Emery v. Allied Pilots

Ass’n, 222 F. Supp. 3d 1120, 1125 (S.D. Fla. 2016) (quoting Ford Motor Co. v. Huffman, 345

U.S. 330, 337 (1953)). And to prevail on a duty of fair representation claim, plaintiffs must do

more than just show they are unhappy with the results of the union’s decision-making. Jamison

v. Air Line Pilots Ass’n, Int’l, No. 1:12-CV-00544-RWS, 2015 WL 1481470, at *7 (N.D. Ga.

Mar. 31, 2015), aff’d, 635 F. App’x 647 (11th Cir. 2015). The Complaint does nothing to thwart

the judicially noticed fact that Local 1475 split the HH Class in response to charges raised by

union membership. The division was based on objective criteria, and Plaintiff fails to allege any

facts, beyond mere speculation, that indicates Local 1475 was otherwise motivated by

discrimination or improper motives. While Plaintiffs may be unhappy that those who were on

the Emergency List were afforded higher seniority status than Plaintiffs’ own, the Complaint has

failed to show why such division, or the alleged failure to disclose the names of the Emergency

List members, was legally improper. Accordingly, absent any allegations on which a reasonable

factfinder could conclude that Local 1475’s actions were arbitrary, discriminatory, or made in

bad faith, Plaintiffs’ duty of fair representation claim cannot proceed.

       Based on the above, the Court GRANTS Local 1475’s Request for Judicial Notice, (doc.

13), and GRANTS Local 1475’s Motion to Dismiss, (doc. 11). The Court thereby DISMISSES



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Plaintiffs’ action against Defendant International Longshoreman’s Association Local 1475

Clerks and Checkers Union, Inc. and DIRECTS the Clerk of Court to CLOSE this case.

      SO ORDERED, this 22nd day of August, 2024.




                                  R. STAN BAKER, CHIEF JUDGE
                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF GEORGIA




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